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                   Exhibit 07B
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                             BP’s Response To Class Counsel’s
                      December 16, 2012 Request for Policy Determination

                                             Introduction

         Class Counsel’s December 16, 2012 Request for Policy Determination seeks to rewrite
the Settlement Agreement. The parties negotiated a Settlement Agreement that uses objective
tests to make claim determinations, including the amount and magnitude of losses (if any). As
set out in Exhibit 4C, which is the “Compensation Framework for Business Economic Loss
Claims,” the parties agreed that “[t]he compensation framework for business claimants compares
the actual profit of a business during a defined post-spill period in 2010 to the profit that the
claimant might have expected to earn in the comparable post-spill period of 2010.” Settlement
Agreement, Ex. 4C at 1 (emphasis added).

         Class Counsel argues that “[w]hen a business keeps its books on a cash basis, revenue is
earned during the month of receipt, irrespective of when the contract was entered or services
were performed.” Class Counsel 12-16-12 Memo at 1. Therefore, Class Counsel’s position is
that it is solely the timing of when cash is received that is relevant for purposes of comparing
pre- and post-Spill economic performance, which comparison determines whether there was a
compensable loss (and the amount of any such loss) under the Settlement Agreement. But this
novel position ignores the text of the Settlement Agreement, which instructs that the first step in
evaluating financial performance is to measure “revenue” “earn[ed],” not payments received.
The use of the terms “revenue” and “earn[ed]” in the Settlement Agreement was negotiated and
deliberate. As the Settlement Program itself recognized in its October 8, 2012 Policy Statement
prohibiting a claimant that keeps its books on an accrual basis from restating the financial data
on a cash basis for purposes of filing a claim, relying solely on the timing of the receipt of cash
“could result in a loss or a greater loss [that is] not related to the Spill but instead is a result only
of the timing of cash received.” Claims Administrator 10-8-2012 Policy Statement at 2.

         Similarly, Class Counsel contends that: “The ‘corresponding variable expenses’
associated with monthly revenue are the expenses that are expended or incurred during the
Benchmark and Compensation months in question.” Class Counsel 12-16-12 Memo at 1.
Again, Class Counsel’s position ignores and is incompatible with the express text of the
Settlement Agreement, which requires that “corresponding variable expenses” be subtracted
from the revenue they generate in order to measure variable profit. Settlement Agreement, Ex.
4C at 2. Accepting Class Counsel’s proposal requires ignoring the express text of the Settlement
Agreement. And failing to match the corresponding variable expenses incurred to generate
revenue presents the mirror image of the problems that arise when one focuses only on the
timing of revenue. As the Claims Administrator has already found, such an approach “could
result in a loss or a greater loss not related to the Spill.” Claims Administrator 10-8-2012 Policy
Statement at 2.

        Class Counsel’s proposed rewrite of the objective compensation tests produces
objectively absurd and illogical results. Rather than compare the revenues that correspond to the
expenses necessary to earn those same revenues during the relevant time periods, Class Counsel
instead seeks to have the Settlement Program in many cases use a year or more worth of



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revenues compared to only a fraction of the expenses incurred to generate those revenues,
thereby artificially inflating pre-Spill profits, and artificially depressing post-Spill profits, solely
for the purpose of creating non-existent losses -- an objective fact confirmed by the claimant’s
own financial data.

         The Settlement Agreement’s objective compensation tests work when the financial data
are used in a manner that permits the calculation and comparison of pre- and post-Spill variable
profit -- i.e., that data which match the revenues and the expenses incurred to generate those
revenues. But the tests cannot possibly work if the wrong data (data that do not measure revenue
earned and that do not match revenue earned and corresponding variable expenses) are used,
which is precisely what Class Counsel seeks when they ask the Settlement Program to determine
compensation but without considering when revenue is earned and matching the expenses
incurred to generate those very same revenues.

        Context also is important here. For many types of Business Economic Loss claims, the
Settlement Program is being provided with financial data that sufficiently match revenue and
corresponding variable expenses, and, as a result, is properly applying the objective
compensation test to produce the required and agreed upon outcomes under the terms of the
Settlement Agreement. There are, however, a number of claimants -- often in the construction,
agriculture, and professional services industries -- for which (i) earning of revenue (the
measurement required by the Settlement Agreement) does not always track the receipt of
payment (the measurement found in the financial data of many claimants), and/or (ii)
corresponding variable expenses are incurred many months ahead of the earning of revenue. In
such cases, the terms of the Settlement Agreement require that an accurate evaluation of pre- and
post-Spill financial performance be undertaken, including determining when revenue is earned
and the matching of corresponding variable expenses to that revenue. This evaluation can be
accomplished in a straightforward manner that permits the accurate processing of claims and
does not impose unnecessary burdens on claimants or the Settlement Program.

         In addition to explaining why Class Counsel’s positions are wrong and its proposed
policy determinations are prohibited by the Settlement Agreement, we also offer some
suggestions and straightforward proposals that will allow the Settlement Program to identify
those claims which require further evaluation, and how to perform that further evaluation, in
order to properly apply the Settlement Agreement’s objective tests.

I.      Class Counsel’s Proposals Violate the Settlement Agreement’s Objective Tests

        Class Counsel asks the Class Administrator to jettison the express terms of the Settlement
Agreement, which terms require accurate data regarding “earn[ed]” “revenue” and
“corresponding variable costs” incurred in earning the revenue in order to measure accurately
changes in claimants’ pre- and post-Spill economic performance, and thus whether the claimant
experienced a compensable loss. In the place of accurate data permitting such a measurement,
Class Counsel seeks to have the Claims Administrator focus only on (i) when cash is received
and (ii) expenses unconnected to the revenue those expenses generate. Class Counsel’s proposed
approach violates the Settlement Agreement’s objective tests and produces the very type of




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inaccurate and illogical results predicted by the Claims Administrator in his October 8, 2012
Policy Statement.

        The Business Economic Loss frameworks’ objective tests for claim determinations,
including the amount and magnitude of losses (if any), compare a claimant’s economic
performance in defined periods before the Spill to its economic performance in defined periods
after the Spill. Two main pieces of data are used to perform this comparison -- “revenue”
(income earned or generated during a defined period) and “corresponding variable expenses”
(those variable expenses incurred in generating the revenue in question). Using financial data
that accurately reflect a claimant’s monthly economic performance (its revenue and
corresponding variable expenses) is essential to proper application of the Settlement Agreement.
Without such data, a meaningful comparison of pre- and post-Spill economic performance, and
thus an accurate claim determination, including the amount of magnitude of losses (if any), is
impossible.

        Exhibit 4C of the Settlement Agreement measures compensation in a logical and
objective manner by comparing the claimant’s economic performance in a defined pre-Spill
period to the claimant’s economic performance in a defined post-Spill period. “Variable Profit”
is the measuring stick. And the Settlement leaves no question as to how Variable Profit is
calculated:

               1. Sum the monthly revenue over the period.
               2. Subtract the corresponding variable expenses from revenue
                  over the same time period.

Settlement Agreement, Ex. 4C at 2. Thus, to calculate Variable Profit, it is necessary to calculate
accurately (1) revenue and (2) the “corresponding variable expenses” incurred in generating that
revenue. In addition, because Exhibit 4C instructs that Variable Profit for the compensation
period is to be compared to “comparable months of the Benchmark Period,” it is necessary to
identify the “comparable months.”1

       A.      Measuring Revenue

         “Revenue” is a well understood and well defined term. “Revenue” means income
generated and earned from the sale of goods and services. See, e.g., C. P. Stickney, Financial
Reporting and Statement Analysis (3d) at 14 (“Revenues measure the inflows of net assets (that
is, assets less liabilities) from selling goods and providing services. . . . [r]evenues reflect the
services rendered by the firm.”).2 Indeed, Class Counsel themselves admit that the relevant
question is when revenue is “earned.” Class Counsel 12-16-12 Memo at 1.

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  Independently, the accurate calculation of “revenue” and use of the correct data are also
essential to proper application of the test in Exhibit 4B of the Settlement Agreement.
2
  See also Accounting Standards Board, Statement of Financial Accounting Concepts 6 ¶ 78
“Revenues are inflows or other enhancements of assets of an entity or settlements of its liabilities
(or a combination of both) from delivering or producing goods, rendering services, or other
activities that constitute the entity’s ongoing major or central operations.”); id. ¶ 79 “Revenues
                                                                            Footnote continued on next page


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        In most cases, how to measure revenue is straightforward and not in dispute. A
restaurant earns revenue when it sells a meal and its customer pays for the meal. A souvenir
shop earns revenue when it sells a tee shirt and its customer pays for the tee shirt. Measuring
revenue does, however, require an additional step for certain claimants -- for example those in
construction, agriculture, and professional services -- because the time where the business earns
revenue (the key measurement under the Settlement Agreement) may be different than when the
business receives payment (which is sometimes what is reported in the claimant’s financial data).
The Claims Administrator has recognized that such issues of timing, if unaddressed, “could
result in a loss or a greater loss [that is] not related to the Spill but instead is a result only of
the timing of cash received.” Claims Administrator 10-8-2012 Policy Statement at 2 (emphasis
added).

        Take for example a construction company that is paid $100 on day 1 of a job as payment
for the first four months of work which are to be performed evenly over the four months.
Neither the Settlement Agreement nor basic principles of economics nor common sense would
say that the construction company earned $100 in revenue on day 1. Rather, the construction
company earned $25 dollars in each of the four months in this hypothetical. If the construction
company did not do the work, it would have to return the money. Yet, Class Counsel is asking
the Claims Administrator to create a fiction, simply because a claimant’s financial data may
show that the claimant received the lump sum payment on day 1, that the full $100 is revenue
earned on day 1, and that the claimant did not earn any revenue from the job in months two -
four. Specifically, Class Counsel argues that “[w]hen a business keeps its books on a cash basis,
revenue is earned during the month of receipt, irrespective of when the contract was entered or
services were performed.” Class Counsel 12-16-12 Memo at 1. Equally troubling, and as
discussed below, when it comes to expenses to compare to the revenue, Class Counsel would
pretend that only the expenses for month 1 apply to the $100 amount, but not the expenses
incurred over the four-month period in order to generate or earn that revenue.

         As the Claims Administrator concluded in his October 8, 2012 Policy Statement that
prohibits the restating of financial data from accrual to cash basis, the fiction proposed by Class
Counsel can prevent proper and fair operation of the Settlement Agreement’s objective tests. By
misstating actual monthly performance, it can create losses where none exist, overstate actual
losses, and create false positives in the causation test. Claims Administrator 10-8-2012 Policy
Statement at 2 (explaining that using time of payment rather than time when revenue is earned
“could result in a loss or a greater loss [that is] not related to the Spill but instead is a result only
of the timing of cash received.”). The fact that a claimant who uses cash basis accounting may
as a clerical function record payments when they are received does not change the meaning of
the term “revenue” or the Settlement Agreement’s requirement that “revenue” rather than the
receipt of payment be measured.


Footnote continued from previous page
represent actual or expected cash inflows. . . that have occurred or will eventuate as a result of
the entity’s ongoing major or central operations . . . the transactions and events from which
revenues arise and the revenues themselves and are called by various names -- for example,
output, deliveries, sales . . .”).



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       B.      Measuring “Corresponding Variable Expenses”

       As with “revenue,” Class Counsel once again seeks to rewrite the terms of the Settlement
Agreement by ignoring the requirement that “corresponding variable expenses” must be
subtracted from revenue. In place of the actual requirements of the Settlement Agreement, Class
Counsel argues that the Claims Administrator should simply look to when expenses are incurred
without matching such expenses to the revenue they generate.

        Reference to Exhibit 4C of the Settlement Agreement shows why Class Counsel’s
position is untenable as a matter of contract interpretation and basic economics. Once revenue is
properly identified, the Settlement Agreement instructs that the “corresponding variable
expenses” incurred in generating the revenue must be subtracted from the revenue. Settlement
Agreement, Ex. 4C at 2. “Corresponding” means “having or participating in the same
relationship” or “related,” as in “a test question and its corresponding chapter in the textbook.”
Merriam-Webster Dictionary < http://www.merriam-webster.com/dictionary/corresponding>.

        The requirement that “corresponding variable expenses” be subtracted from revenue ties
directly back to the core requirement of the Settlement Agreement -- that loss is objectively
measured by accurately comparing pre- and post-Spill economic performance. This cannot be
accomplished without matching revenue and corresponding variable expenses. Failure to do so
will produce a distorted and completely inaccurate picture of business profit or loss.

        Take for example a farm that spends $50 dollars each month in May, June, and July to
buy seeds, plant crops, and fertilize the crops, and then generates $200 in revenue when the crop
is harvested and sold in August. Once again, neither the terms of the Settlement Agreement nor
basic principles of economics nor common sense would say that the farm lost $50 in May, lost
another $50 in June, and yet another $50 in July, and then turned a profit of $200 in August. To
the contrary, the Settlement Agreement (by instructing to subtract “corresponding variable
expenses” from revenue) and basic economics say correctly that this farm earned $50 dollars in
variable profit ($200 in revenue minus $150 in variable expenses). Any other result would be
truly absurd. Yet, this is what Class Counsel seeks: “The ‘corresponding variable expenses’
associated with monthly revenue are the expenses that are expended or incurred during the
Benchmark and Compensation months in question.” Class Counsel 12-16-12 Memo at 1.

       Class Counsel goes even one step further in arguing that expenses for which a
professional services claimant receives reimbursement from its client should be counted as
revenue earned for purposes of the Settlement Agreement’s objective tests. Class Counsel 12-
16-12 Memo at 2. There is no possible interpretation of the Settlement Agreement or economics
under which a professional service firm’s receipt of reimbursement for costs constitutes revenue
that measures the firm’s earnings. When the firm receives the reimbursements, it is not earning
revenue but simply being repaid for expenses previously paid.

       C.      Measuring Comparable Pre- and Post-Spill Periods

      Once economic performance for the Compensation Period is calculated, the Settlement
Agreement instructs that it is to be compared against economic performance in “the comparable
months of the Benchmark Period.” Settlement Agreement, Ex. 4C at 1 (emphasis added). The


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result of this comparison determines whether the claimant has incurred a loss and, if so, the
amount of such loss. Thus, performing the correct comparison using the correct data is critical.

       “Comparable months” are months that are “capable of or suitable for comparison,”
“similar” or “like.” Merriam-Webster Dictionaryhttp://www.merriam-
webster.com/dictionary/comparable. Applying this definition, for the majority of businesses,
with revenue and expense patterns that are generally consistent from year to year, “comparable
months” of the Benchmark Period for calculation of Step 1 compensation will be the same
months as in the 2010 Compensation Period.

        In some special cases, however, using the same months in the Benchmark Period and the
Compensation Period will not satisfy the “comparable months” requirement. In particular, in the
farming industry, the month in which a farmer actually plants crops, harvests crops, sells the
harvested crops or makes major purchases of seed or fertilizer may vary from year to year due to
weather or market conditions. Thus, unlike a Gulf Shores hotel whose main season of business
occurs in the same months year in and year out, economically “comparable” periods for a farmer
may change substantially from year to year.

        Take the example of a farmer who normally harvests and sells his crop in November, but
in 2010 harvested and sold in December. If September-November is used as both the
Compensation Period and the Benchmark Period, then the failure to take account of the one
month shift will produce an illusory “loss” of revenue between the two periods -- even if the
farmer actually earned more revenue from the harvest and sale in 2010. That mismatch, coupled
with the failure to assign revenue to the proper month by matching it to costs incurred to produce
it and the effort expended, can produce multi-million dollar awards for illusory “losses.” And
when we say “illusory,” we mean losses that do not exist in fact as shown by the objective
financial data.

       D.      The Irrational, Distorted Results That Flow From Failure To
               Properly Apply The Settlement Agreement’s Objective Tests

        As the above discussion demonstrates, and as the Claims Administrator recognized in his
October 8, 2012 Policy Statement, failure properly to apply the Settlement Agreement’s revenue
and corresponding variable expense requirements (in other words, doing exactly what Class
Counsel is proposing here) produces absurd results that are inconsistent with the express terms of
the Settlement Agreement and its intent and are also inconsistent with and contrary to the
objective financial data provided by claimants. Consider the following results of actual claims
where unfortunately these requirements were not followed:

           Claimant                   is a highway paving contractor. 2010 was a banner year for
            the company, which earned 2010 gross profits that were $1.3 million greater than any
            other year in the record. Yet, by failing, as required by the Settlement Agreement, to
            use monthly revenue matched to corresponding variable expenses, the Settlement
            Program awarded the claimant $7.7 million in pre-RTP compensation ($9.6 million
            post-RTP) -- more than the total net income the company earned in any year --
            including the $6.61 million in its record-breaking 2010. The result amounts to a
            finding that in the absence of the spill, Claimant’s 2010 net income would have been


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           more than double any other year going back to 2007 and more than four times what it
           actually was in 2011 ($3,346,870), and that Claimant’s 2010 profit margin would
           have more than doubled. Claimant’s own financial records conclusively preclude
           such a result and establish that there is simply no basis whatsoever for such a
           conclusion. One can only get to such a result by using the wrong data when
           performing the calculations required by the Settlement Agreement.

          Claimant                   is an advertising firm that received a $3.6 million award
           even though it too had a banner year in 2010. As in the first example, the Claimant-
           reported revenues and expenses produced wild month-to-month gross profit swings,
           with negative profits as high as 66,701%, a red flag for accountants that revenue has
           not been matched to the expenses that generated the revenue. Moreover, the
           company reported extraordinarily high variable expenses of more than $2 million in
           August 2010, a month in which the company reported only $30,976 in revenue.
           These extraordinarily high expenses are associated with a one-time increase in an
           expense category labeled “Spring-Media Purchased Clients,” which only appears in
           Claimant’s financial data for the month of August 2010. It is beyond dispute that the
           Claimant did not incur more than $2 million in costs to generate $30,976 in revenue
           (a loss of more than $1.9 million) in August. Yet that is precisely the result that was
           arrived at when corresponding variable expenses were not matched to the revenues
           generated by such expenses. In other words, a fictional, non-existent $1.9 million
           loss was created for the 2010 post-Spill compensation period solely as a result of
           the failure to match the large $2 million expense with the revenues it generated.
           Failure to match the revenue associated with these August 2010 expenses resulted in
           the Claimant receiving an award that was six times its actual 2009 net income and
           170% of its actual 2011 net income. Again, a non-existent “loss” was created, and
           then compensation was awarded -- simply by failing to match the revenues with the
           variable expenses incurred to generate those revenues.

          Claimant                   is a law firm. Claimant received a $1.3 million contingency
           fee in October 2009 for a case that had been litigated for two years. Its expenses in
           litigating the case were incurred over that two-year period. No similar fee was
           received in October 2010. Treating the fee awarded in October 2009 as “October
           2009 revenue” and failing to relate it to the prior work done and corresponding
           variable expenses resulted in a $5 million dollar award for a non-existent “loss.”

        The illogical outcomes in the above examples result from not evaluating the financial
data called for by the Settlement Agreement and instead using data that do not permit an accurate
measurement of financial performance. But even if there were some possible literal
interpretation of the Settlement Agreement that permits such results (and there is not), the above
examples and their results violate the well-established rule that contracts are to be read




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reasonably, and cannot be interpreted in a manner that produces absurd results.3 Yet, this is
precisely what Class Counsel seeks.

       E.      Changes in Lines of Business

       Class Counsel also requests the following policy determination: “Where a Claimant
ceases a line of business during the Benchmark Period, such revenue from the terminated line of
business is included in the BEL calculation. For example: Claimant rented commercial
properties in 2007 but sold those properties at the beginning of 2008, for the purposes of the BEL
Framework, the 2007 revenue from the properties would be included in the Causation and/or
Compensation calculation(s).” Class Counsel 12-16-12 Memo at 2.

         Once again, Class Counsel ignores the terms of the Settlement Agreement, economic
reality, and common sense. The Settlement Agreement’s objective compensation test explains in
clear terms that it “compares the actual profit of a business during a defined post-spill period in
2010 to the profit that the claimant might have expected to earn in the comparable post-spill
period of 2010.” Settlement Agreement, Ex. 4C at 1 (emphasis added). Under no circumstances
can Class Counsel credibly say that a claimant who was a landlord in 2007 but sold the buildings
at the beginning of 2008 lost profit from the renting of those buildings as a result of the Spill. It
did not own the building for the two years preceding the Spill. The above-quoted language from
the Settlement Agreement does not permit such a construction; nor does economic reality or
common sense.

II.    Recommendations

        For the reasons discussed above, Class Counsel’s requested policy determinations violate
the terms of the Settlement Agreement and cannot be implemented. The attached Tab 1
summarizes a proposed process for addressing claims that may require further evaluation for
purposes of measuring revenue and matching corresponding variable expenses. For the majority
of cases, no special steps are needed because the claim does not present timing and matching
issues. Thus, we propose focusing at this time on three industries where timing and matching
issues appear to be prevalent and as to which the failure to address the timing and matching
issues prevents proper application of the Settlement Agreement -- construction, agriculture, and
professional services. For claims within these three industries, we recommend the steps outlined
and discussed in Tab 1.


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  In re Liljeberg Enter., Inc., 304 F.3d 410, 443 (5th Cir. 2002) (rejecting proposed interpretation
of contract that “literally leads to absurd results”); Makofsky v. Cunningham, 576 F.2d 1223,
1229-30 (5th Cir. 1978) (“Louisiana courts will not interpret the words of a contract literally
when this leads to unreasonable consequences or inequitable or absurd results even when the
words used in the contract are fairly explicit.”); Cashio v. Shoriak, 481 So.2d 1013, 1015 (La.
1986) (holding that “it is our duty to refrain from construing [contracts] in such a manner as to
lead to absurd consequences. When a literal interpretation will produce absurd consequences,
the court may consider all pertinent facts and circumstances, including the parties’ own
conclusion of the instrument’s meaning, rather than adhere to a forced meaning of the terms
used.”).



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                                          Conclusion

        For the foregoing reasons, Class Counsel’s requested policy determinations would violate
the terms of the Settlement Agreement and would produce inaccurate and illogical results in
violation of standard rules of contract construction. Accordingly, Class Counsel’s request should
be rejected. Instead, BP suggests that the Settlement Program adopt the recommendations set
forth in Tab 1 of this memo.




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                         TAB 1
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                                              TAB 1

         Although very detailed approaches for matching of monthly revenues to corresponding
expenses for each of the three industries identified by Class Counsel would lead to greater
accuracy, such approaches impose additional burdens on the Settlement Program. In a good faith
effort to implement the BEL framework, BP proposes a simpler and workable approach for each
industry that is claimant-friendly and requires limited additional effort by the Settlement
Program. However, claimants also should -- if they so choose -- be provided the option to
pursue a more detailed approach for aligning revenues with corresponding expenses where they
can provide the necessary data.

Construction

         For construction claims, an approach to better align revenues with corresponding variable
expenses may be implemented often without the need for any additional information from
claimants. In overview, the annual financial data submitted by construction firms typically
appear to reliably report annual revenue, variable costs and variable profits. However, such
firms frequently do not accurately align revenue and the corresponding expenses incurred to
generate that revenue on a monthly basis, a problem reflected in variable profit percentages that
often vary wildly from month to month. The proposed approach, summarized below, reflects the
view supported by industry accounting experts that construction companies generally record
their costs reliably on a monthly basis based on actual operating experience, while revenues are
less reliable as they utilize estimates which can change significantly from month-to-month.

        Alignment of revenue and corresponding variable expenses can be substantially improved
in two steps:

       First, determine the ratio of claimant’s annual revenue to annual variable expenses for
2010 and each of the Benchmark Period years.

       Second, match revenue to corresponding variable expenses by multiplying (i) variable
expenses reported for a given month and (ii) the ratio of revenue to variable costs calculated on
an annual basis.

       Last, adjustments should be made for irregular or extraordinary cost entries that can
appear in monthly financial statements. For example, Claimant                   recorded a full year
of bad debt totaling $928,616 solely in December 2008; this cost should be matched to the
months in which the corresponding revenue was reported. In such instances, the Settlement
Program will need to consult with claimants in order to better identify the nature and timing of
the expense. Significantly, we see documentation in the claim files already of such Settlement
Program consultations. For example, the claim file for Claimant                    includes a
response from a CPA firm to the Settlement Program regarding an inquiry about negative
revenue amounts recorded in the claimant’s December 2007 and November 2009 P&L’s.

      After undertaking these steps, the variable profit calculation in Step 1 of the BEL
compensation formula and the revenue calculations of the causation formula can proceed as
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usual with the Settlement Program selecting the Compensation Period months and Benchmark
Period year(s) that maximize the claimant’s award.

Farming

        The proposed approach to improving the alignment of revenue to corresponding expenses
for farm claims generally tracks the two-step approach proposed above for construction firm
claims, recognizing the unique timing of expenses and sales in this industry:

        First, determine the claimant’s total revenue for each crop harvested in 2010 and the
Benchmark Period years. This should be based on the published USDA-defined marking year
for the particular crop in the state where the farm is located. For example, the 2010 marketing
year for rice produced in Louisiana extends from July 1, 2010 to June 30, 2011, recognizing that
rice harvested in 2010 might be stored and sold in 2011.

       Second, for 2010 and each Benchmark Period year, match the total marketing year
revenue to corresponding variable expenses that occurred in the calendar year in which the
harvested crop was produced. This matching is accomplished by multiplying (i) variable
expenses incurred by the claimant reported for a given month and (ii) the ratio of marketing-year
revenue to production-year variable expenses.

         In addition, adjustments should be made for irregular or extraordinary cost entries that
can appear in monthly financial statements. For example, if unusually large expenses for seed,
fertilizer, chemicals or fuel appear in one year compared to others, it may be that the claimant
purchased inventory for multiple years or pre-purchased supplies late in a given calendar year for
use in the following production year, in which case the relevant costs should be apportioned to
the appropriate production year. In such instances, the Settlement Program will need to consult
with claimants in order to make such determinations. Such consultation already is taking place.
For example, the claim file for Claimant                  includes correspondence in which the
Settlement Program asks the claimant to clarify the purpose of an inventory adjustment expense
recorded on its profit and loss statements in December of each year; this expense varies between
minus $600,000 and positive $279,000 between 2007 and 2010.

        Last, it is important that the months selected in the Compensation Period and Benchmark
Period years are, in fact, comparable. For example, if the Claimant selects months for the
Compensation Period in which a primary farming expense was incurred -- planting, land
preparation or harvesting, the “comparable months” of the Benchmark Period year must include
those same activities.

       After undertaking these steps, the variable profit calculation in Step 1 of the BEL
compensation formula and the revenue calculations of the causation formula can proceed as
usual with the Settlement Program selecting the Compensation Period months and Benchmark
Period year(s) that maximize the claimant’s award.




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Professional Services Firms

       The proposed approach to align revenue to corresponding expenses for professional
services firms generally tracks the two-step approach proposed above for construction and
farming claims, recognizing that many professional services firms’ financials often report a large
share of annual revenue in only a handful of months, or even in only a single month, in any given
year. This is due to large, irregularly timed payments for long-term projects or matters, although
professional service firms’ variable expenses tend to be consistent throughout the year.

        First, identify the months in which there is an irregular or extraordinary increase in cash
receipts and then obtain from the claimant information on the history of effort and expenses
expended on projects or matters that generated the increase in cash payments, as reflected in
monthly hours worked by the firm’s professionals on the relevant projects or matters, including
months in prior years.

       Second, match revenue from these projects or matters to the corresponding expenses by
multiplying (i) the percentage of total effort that over the history of the project or matter that
occurred in a given month, with (ii) the total revenue ultimately generated by the project or
matter. For months with no irregular or extraordinary increase in cash receipts, no such
matching process need be undertaken.

       Third, to properly calculate variable profit in the BEL compensation calculation,
claimants should identify their practice for recording pass-through or reimbursable
disbursements, such as travel fees, referral fees paid to other firms and fees paid to consultants
and experts. Since many firms pass through these disbursements to their clients, they are not
appropriately considered to be either revenue or expenses of the claimant. Consequently, they
should not be included in calculating the claimant’s variable profit.

        Last, adjustments should be made for irregular or extraordinary cost entries that appear in
monthly financial statements. For example, Claimant                       recorded an expense in
August 2010 of $2.1 million labeled “Spring Media Purchase Client” which clearly must be
associated with revenue generated in other months; this cost should be matched to the months in
which the corresponding revenue was reported. In such instances, the Settlement Program will
need to consult -- as it already doing -- with claimants in order to better identify when the cost
was incurred. For example, the claim file for Claimant                      includes correspondence
between the Settlement Program and the claimant regarding fees received in settlements as well
as costs incurred on behalf of clients.

       After undertaking these steps, the variable profit calculation in Step 1 of the BEL
compensation formula and the revenue calculations of the causation formula then can be applied
as usual with the Settlement Program selecting the Compensation Period months and Benchmark
Period year(s) that maximize the claimant’s award.




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